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                        EXHIBIT 1
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Richard Cipolla

From:              Robert Gilbert <rgilbert@gilbertlitigators.com>
Sent:              Monday, June 10, 2024 10:46 PM
To:                Fenske, Daniel T.
Cc:                eric.mahr@freshfields.com; Miller, Britt M.; Kirkpatrick, Sarah; Gringer, David;
                   norman.armstrong@kirkland.com; 568_litigation@gilbertlitigators.com; 568 Litigation; 568GROUP-
                   DEFS-SERVICE@list.wilmerhale.com; Fenske, Daniel T.
Subject:           The Parameters of Sealing



[EXTERNAL SENDER]


Dear Dan,

This email responds to your email earlier today (below), and follows up on our subsequent
follow call with you and other defense counsel concerning post-discovery sealing.

Your email argues that the Seventh Circuit test, “requires the Court to balance the competing
privacy and public interests ‘case by case,’ Jessup v. Luther, 277 F.3d 926, 928 (7th Cir. 2002),
which necessarily requires the parties and Court to know what documents and testimony are
at issue before applying that test.” That is not an accurate characterization of the governing
Seventh Circuit law. Jessup v. Luther held that the public right of access outweighs a
defendant’s right of secrecy where, as here, the records concern, “…issues in which the public
has an interest, in which event concealing the records disserves the values protected by the
free-speech and free-press clauses of the First Amendment….” (277 F.3d at 928.) Contrary to
the claim in your email, The Jessup standard of weighing the public interest against a
defendant’s secrecy interest on a "case by case” basis (Id.) does not mean
each document should be individually assessed, but rather the case itself should be accorded a
public right of access that corresponds to its public significance. The additional relevant inquiry
in our case is whether each category of documents actually satisfies the agreed upon
definition of “Confidential” in the Second Amended Confidentiality Order (SACO).

The 568 Cartel litigation is one of far more sweeping national public interest than Jessup and
indeed concerns two of the most important public policy issues in the United States: access to
higher education and the exorbitant cost of higher education. . “When a designation of materials
as confidential under a protective order is challenged, the designating party bears the burden of
justifying the need for enforcement of the order.” Motorola, Inc. v. Lemko Corp., 2010 WL
2179170 at *4 (N.D. Ill. 2010) (Kennelly J.) (citing Team Play, Inc. v. Boyer, 2005 WL 256476 (N.D.
Ill. 2005)). The general rule is that the record of a judicial proceeding is public. Jessup v. Luther,
277 F.3d 926, 927 (7th Cir. 2002). The public’s interest “can be overridden only if the [privacy]
interests predominate in the particular case . . . .” Citizens First Nat’l Bank v. Cincinnati Ins. Co.,
                                                        1
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178 F.3d 943, 945 (7th Cir. 1999). Under the governing law of the Seventh Circuit, the public right
of access in this case overwhelmingly predominates over the Defendants’ interest in secrecy.

In this legal framework, we appreciate receiving today your ten proposed categories for
sealing of post-discovery materials such as Daubert motions, Class Certification motions and
Summary Judgment motions. We will evaluate which of these proposed categories, in our
judgment, satisfy the Seventh Circuit standard and SACO requirements and which do not (and
which may require editing). As we agreed in today’s call, we will schedule at least one more
meet and confer session, and the parties expect to be in a position to make a proposal to the
court outlining areas of agreement and disagreement in the next status conference following
the June 18 conference.

Thank you.

Best,

Bob

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From: Fenske, Daniel T.
Sent: Monday, June 10, 2024 11:14 AM
To: Robert Gilbert
Cc: eric.mahr@freshfields.com; Miller, Britt M.; Kirkpatrick, Sarah (EXTERNAL CONTACT); Gringer, David; Armstrong,
Norman (EXTERNAL CONTACT); 568GROUP-DEFS-SERVICE@list.wilmerhale.com; 568 litigation@gilbertlitigators.com;
568 Litigation; Fenske, Daniel T.
Subject: RE: The Parameters of Sealing

Bob,

I am writing to follow up on the parties’ meet/confer on Friday as to the standard and protocol to govern
sealing of materials filed in connection with merits-related motions. As discussed on Friday, we believe it is very
difficult to define in advance all of those “categories” of documents that may contain information that meets
the standard for sealing under Seventh Circuit law. For example, the test requires the Court to balance the
competing privacy and public interests “case by case,” Jessup v. Luther, 277 F.3d 926, 928 (7th Cir. 2002), which
necessarily requires the parties and Court to know what documents and testimony are at issue before applying
that test. That said, we agree that it would be helpful for the parties to articulate the types of documents that
we expect would meet the standard for sealing. In conjunction with the process to meet/confer over any sealed

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filings that we outlined in our email of June 5, this information will allow the parties to ensure public access to
those materials that do not meet the sealing standard while also ensuring that we do not burden the Court
with the task of having to evaluate each document line by line.

We believe the following categories of information are likely to contain information that can be appropriately
sealed under Seventh Circuit law governing merits-related filings. Note that Defendants are continuing to
discuss these issues together and with our clients, but we are sending this list now to further our
discussions. Thus, the below descriptions are not intended to be final.

             1. Information prohibited from disclosure by statute, including any document protected under the
                 Family Educational Rights and Privacy Act (“FERPA”) or by the Court’s orders protecting similar
                 information (Confidentiality Order ¶ 8, the Order Regarding FERPA and the Production of Certain
                 Documents and Information (ECF 231), or the Special Protective Order (ECF 645)), including the
                 application, financial aid, contact information, or education records of any applicant, student, or
                 former students and names of family members;
             2. Documents that reveal the application, financial aid, contact information, or education records
                 regarding any non-named Plaintiff student or applicant, regardless of whether that student
                 received a FERPA notice;
             3. Highly sensitive information about donations or actual or potential donors, such as names,
                 donation amounts, or personal financial details such as individual income, assets, or net worth;
             4. Highly sensitive competitive or highly sensitive confidential information where disclosure to
                 another party or third party would result in specific demonstrable harm to, or cause material
                 harm to the legitimate interests of, the disclosing party, including, for example, correspondence
                 and materials related to compliance or non-compliance with unrelated regulations; unrelated
                 internal or government investigations or litigation; highly confidential financial, insurance, or
                 budgetary information; or highly confidential research, technical, competitive, commercial, or
                 strategic initiatives;
             5. Highly-sensitive trade secrets, including:
                             1. Trade secrets with respect to Defendants’ calculation of financial aid and its
                                  considerations in terms of evaluating applicants for admission;
                             2. Trade secrets with respect to Defendants’ internal systems or the processes of a
                                  President’s, or Development/Advancement or Admissions or Financial Aid Office;
             6. Medical information concerning any individual;
             7. Income tax returns (including attached schedules and forms);
             8. W-2 forms and 1099 forms;
             9. Personnel or employment records of a person;
             10. Non-public information about endowment or other finances/budget information

We look forward to our discussion this afternoon.

Regards,

Dan

____________________________________________________________________________________
Daniel T. Fenske
Partner
Mayer Brown LLP
71 S. Wacker Dr.

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From: Fenske, Daniel T.
Sent: Wednesday, June 5, 2024 3:35 PM
To: Robert Gilbert; eric.mahr@freshfields.com; Miller, Britt M.; Kirkpatrick, Sarah (EXTERNAL CONTACT); Gringer, David;
Armstrong, Norman (EXTERNAL CONTACT); 568GROUP-DEFS-SERVICE@list.wilmerhale.com; Robert Gilbert
Cc: 568 litigation@gilbertlitigators.com; 568 Litigation; Fenske, Daniel T.
Subject: RE: The Parameters of Sealing [MB-AME.FID9564911]

Bob:

We write in response to your email below to provide Defendants’ proposal for how to address a protocol for
sealing in connection with summary judgment and class certification motions, as the Court directed at the May
24 hearing. The below outlines our proposal, which we would need to formalize in an amendment to the
Second Agreed Confidentiality Order (“Confidentiality Order”).

1. Defendants agree that information containing FERPA-protected information (that is, information governed
by Confidentiality Order ¶ 8, the separate Order Regarding FERPA and the Production of Certain Documents
and Information (ECF 231), or the Special Protective Order (ECF 645)) must continue to be filed under seal.

2. As to other documents, we’d like to discuss further your proposal that “specific narrowly defined categories
of documents or testimony” may be filed under seal. It is not at all clear to us how, as a practical matter, we
could both identify all such “categories” that include documents that are legitimately confidential or describe
those “categories” with sufficient specificity to know in advance what documents fall in each category. In other
words, this seems a very difficult conversation to have in the abstract, when we are not focused on particular
documents. We’d like to discuss whether that “categorical” approach, or an approach tied more directly to the
legal tests under the Confidentiality Order or applicable case law makes more sense.

3. Mindful of the Court’s order that we discuss a “protocol” for addressing sealing issues, Defendants also
believe that the following process is appropriate and will both alleviate the burden on the Court to
unnecessarily resolve sealing disputes and ensure access by the public to those documents it has a legitimate
interest in accessing under applicable First Amendment principles.

In particular, Defendants propose that the parties would initially file their motions for class
certification/summary judgment, any oppositions or replies, and any supporting exhibits, under seal to the
extent that they reference material designated as Confidential Information under the Confidentiality
Order. Then, within 14 days after filing of any reply briefs in support of either the class certification or summary
judgment motions—that is, when briefing on the applicable motion has closed—the parties would meet/confer
to discuss any disputes over what should remain under seal in connection with all briefing on each motion, with
the goal of eliminating or at least narrowing the documents in dispute. If any disputes remain, a party
challenging any remaining sealed materials would then file a motion to unseal those materials, which would be
briefed per Judge Kennelly’s standard procedures.

4. Within 14 days after the Court rules on either class certification or summary judgment, and thus the parties
have a better understanding of what materials the Court may have relied on in resolving those motions, the
parties would further meet/confer on whether any additional materials should be unsealed and, as with (3)
above, a party who disagrees that any material should remain sealed could then file a motion to unseal those
materials. Of course, this is subject to the Court’s discretion to otherwise seal or unseal documents as the
Court sees fit.


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    3. Any material filed under seal on which the Court relies in deciding motions for summary judgment, or
        in deciding any other motion, shall be unsealed in the Court’s discretion.

Please provide us with your proposal for category 2 next week. Please also let us know your availability to
meet and confer on Tuesday June 4 in the following time ranges: 11am to 12:30 pm ET; any time after 3pm ET.
Thank you.

Have a good holiday weekend.

Best,

Bob

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